Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 1 of 23 PageID #:265




        EXHIBIT
           2
 Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 2 of 23 PageID #:266



 1    STATE OF ILLINOIS            )
                                   )   SS:
 2    COUNTY OF C O O K            )                              ENTERED
                                                                       NOV 25 2019
 3              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                            DOROTHY BROWN
                    COUNTY DEPARTMENT - CRIMINAL DIV SION
                                                       CLERK OF THE CIRCUIT COURT
 4                                                                    OF COOK COUNTY, IL

      THE PEOPLE OF THE STATE           )
 5    OF ILLINOIS,                      )
                                        )
 6                    Plaintiff,        )
                                        )    No.   10-CR-19174
 7            vs.                       )
                                        )
 8    ALLAN KUSTOK,                     )
                                        )
 9                    Defendant.        )

10                                 REPORT OF PROCEEDINGS had at the
11    hearing in the above-entitled cause before the HONORABLE JOHN
12    HYNES, Judge of said court, on the 23rd day of August 2019.
13                    PRESENT:
14                    MS. KIMBERLY M. FOXX
                      State's Attorney of Cook County, by:
15                    MR. TODD DOMBROWSKI
                      Assistant State's Attorney,
16                         appeared on behalf of the People;
17
                      MR. KARL LEONARD
18                        appeared on behalf of the Defendant.
19
20
21
22    MARY T. CONNOLLY
      OFFICIAL COURT REPORTER
23    CIRCUIT COURT OF COOK COUNTY
      CRIMINAL DIVISION
24    LICENSE NO. 084-004734


     L....--------------1-------------~

                                                                                   R 1436
 Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 3 of 23 PageID #:267



 1         THE COURT:      Good morning, everyone.
 2         MR. LEONARD:      Good morning, your Honor.          Karl Leonard,
 3    spelled with a K, L-e-o-n-a-r-d, from the The Exoneration
 4    Project for Mr. Kustok.
 5         MR. DOMBROWSKI:       Good morning, your Honor.          For the
 6    record Assistant State's Attorney Todd Dombrowski.
 7         THE COURT:      All right.     Good morning, gentlemen.         This
 8    was set here for the Court's order on the postconviction
 9    petition by Petitioner.        I have a written order I'm going to
10    distribute to both sides to the attorneys.
11         MR. DOMBROWSKI:       Acknowledge receipt.
12         MR. LEONARD:       Likewise, your Honor.
13         THE COURT:      I wanted to go into detail in the written
14    order and I want to highlight several things that were in the
15    order and maybe give a little explanation as to those before
16    we end today.
17                First of all in this matter, I set this for a second
18    stage postconviction hearing.          And at the second stage the
19    State can either answer the petition or move to dismiss it.
20    In this case the State moved to dismiss the petition.                And in
21    such a case, the Court has to decide whether to grant the
22    State's motion or advance the petition to a third evidentiary
23    stage.
24                The postconviction petitioner is entitled to an


     L..,.._---------------2-------------------'



                                                                                 R 1437
 Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 4 of 23 PageID #:268



 1    evidentiary hearing only when the allegations in the petition
 2    supported by affidavits, records, and other evidence make a
 3    substantial showing of a depravation of rights under either
 4    the U.S. Constitution or the Illinois Constitution.                The
 5    purpose of a postconviction proceeding is to permit inquiry
 6    into constitutional issues involved in the original conviction
 7    and sentence that were not and could not have been adjudicated
 8    previously on direct appeal.
 9                Issues that were raised and decided on direct appeal
10    are barred by res judicata and issues that could have been
11    raised on direct appeal but were not are forfeited; however,
12    the doctrine of res judicata and forfeiture are relaxed where
13    fundamental fairness so requires when the forfeiture stems
14    from ineffective assistance of Appellate Counsel or when the
15    facts related to the issue do not appear on the face of the
16    original Appellate record.
17                In this case neither side raised the issue of waiver
18    in their respective filings.         But the Court has looked at this
19    with the waiver issue in mind and based on the record before
20    the Court waiver is clearly applicable here.              Petitioner's
21    claim of ineffective assistance of counsel relies entirely on
22    trial record.
23                The Petitioner's claim is based on defense counsel's
24    failure to seek a confirmatory test for gunshot residue on a


     L-----------------3------------------'



                                                                                 R 1438
 Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 5 of 23 PageID #:269



 1    pillowcase prior to trial.         Petitioner cites the testimony of
 2    expert witnesses at trial and at posttrial motion for a new
 3    trial and supported a claim of ineffective assistance of
 4    counsel.    Clearly this is something that was of the record and
 5    is not a situation where the Doctrine of Forfeiture should be
 6    rel axed.
 7                Furthermore Petitioner did not make a claim of
 8    ineffective assistance of appellate counsel.              This issue is
 9    often raised in postconviction petitions in addition to claims
10    of ineffective assistance of trial counsel.              Since the
11    Petitioner has not raised this issue, there is no basis for
12    once again relaxing the Forfeiture Doctrine.              In the case of
13    People versus Veach, the Illinois Supreme Court recently
14    reiterated its adherence to the Forfeiture Doctrine and they
15    have said that the issues that could have been raised and
16    considered on direct review are deemed procedurally defaulted
17    and is not a function of collateral review to consider claims
18    that could have been presented on direct review.
19                For these reasons the Court finds the Petitioner has
20    forfeited the issue of ineffective assistance of trial counsel
21    and the petition for postconviction relief is denied on that
22    basis; however, in the alternative I have looked at the
23    ineffective assistance of counsel claims and this order also
24    includes that.     And for a claim of ineffective assistance of


     L----------------4-----------------'



                                                                                 R 1439
 Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 6 of 23 PageID #:270



 1    counsel to prevail, there's a two-prong test on the case of
 2    Strickland versus Washington and the petitioner or defendant
 3    must show that both the counsel's performance was deficient
 4    and (2) that this deficient performance prejudiced the
 5    defendant.
 6                 To establish the first prong, the performance was
 7    deficient, a defendant much show that counsel's performance
 8    was objectively unreasonable under prevailing professional
 9    norms.   Counsel's performance must be evaluated based on the
10    entire record .    To establish the second prong that this
11    deficient performance prejudiced the defendant, the defendant
12    must show that there's a reasonable probability that but for
13    counsel's unprofessional errors the result of the proceedings
14    would have been different.
15                 I want to talk about the first prong here.
16    Petitioner's claim that there can be no dispute that the
17    defendant's trial counsel's performance fell below an
18    objective standard of reasonableness and Petitioner has based
19    this claim on defense counsel's failure to request this
20    additional testing of a pillow for gunshot residue prior to
21    trial.
22                 The State in response in their motion said the
23    Petitioner has failed to demonstrate that trial counsel's
24    failure to request this test the sodium rhodizonate test was


     '-----------------5------------------'

                                                                                 R 1440
 Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 7 of 23 PageID #:271



 1    objectionably unreasonable.         They argue that the Petitioner
 2    has failed to demonstrate how the posttrial testing results if
 3    conducted prior to trial would allow Petitioner to set forth
 4    any alternative defense theories.           And as I mentioned under
 5    the first prong, counsel's performance must be evaluated on
 6    the entire record.
 7                And I have reviewed the entire record.             And I would
 8    note here that this Court presided over all the pretrial
 9    motions, the trial, and posttrial motions, and I had the
10    opportunity to observe defense counsel's performance
11    throughout the trial.       And I would say as to both sides, both
12    the State and the Defense they were ably represented by both
13    sides with attorneys.       With regard to defense at every stage
14    of the proceedings, the defense vigorously contested the
15    State's evidence and anticipated testimony at trial.
16                Prior to trial defense counsel filed motion to
17    suppress Defendant's statement for example made to both the
18    police and hospital personnel.          Regarding the statements made
19    to hospital personnel, defense argued any statement made to
20    hospital personnel were inadmissible because they were
21    protected by patient-client privilege which is something
22    that's out of the ordinary and somewhat novel for a motion to
23    suppress statements.
24               At the hearing defense presented evidence that the


     '------------------6--------------------'

                                                                                 R 1441
 Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 8 of 23 PageID #:272



 1    Defendant was admitted as a patient because he claimed he had
 2    suicidal thoughts.       Defense argued that as a patient any
 3    statements he made to nurses and doctors was privileged.
 4    Ultimately we had a hearing on this matter and the Court ruled
 5    that these statements qualified as an exception to that
 6    privilege and denied defense request.            Defense counsel also
 7    contested to chain of custody on a number of items taken from
 8    the Defendant at the hospital.          These items included clothing,
 9    his glasses, the bedding he wrapped his wife in that was
10    brought to Palos Hospital.
11                Additionally the State filed a motion to admit other
12    crimes evidence to show motive, intent, or lack of mistake.
13    The State sought to introduce this evidence as evidence that
14    the Defendant and his wife were experiencing financial
15    difficulties and that the Defendant murdered his wife for her
16    insurance policy.      State also sought to introduce testimony of
17    a number of woman with whom the Defendant had extramarital
18    contact prior to his wife's murder.           As part of this last
19    category of evidence, the State sought to introduce photos and
20    statements allegedly made by the Defendant on a website known
21    as Ashley Madison which was a website designed for married
22    people to engage in extramarital affairs.
23                After extensive argument by defense counsel, the
24    Court denied the State's request to introduce evidence of the


     '-----------------7-------------------'

                                                                                 R 1442
 Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 9 of 23 PageID #:273



 1    couple's financial difficulties.           Regarding the extramarital
 2    evidence of the encounters, the Court denied the State's
 3    request to introduce the postings of AshleyMadison.com and
 4    also limited the number of woman who could testify to the
 5    extramarital affairs to a time limit and to encounters that
 6    for the most part involved incidents where he either said he
 7    was trying to get out of his marriage or he was seeking a
 8    divorce.
 9                 Even after the Court ruled that a number of woman
10    could testify, the defense continued to file motions on
11    different theories alleging different facts.              Once again when
12    I look at the entire record throughout the pretrial, trial,
13    and posttrial stages, defense counsels vigorously contested
14    the testimony of the State's expert in this case Rod Englert.
15    Prior to trial defense counsel filed a motion to preclude his
16    testimony.    They alleged his methodology and conclusions were
17    not supported by solid scientific theory in the field.                 Based
18    on the defense motion, the Court agreed to hold a hearing
19    prior to trial to determine if there is a basis for
20    Mr. Englert's theory.
21                 Defense was allowed to cross examine Mr. Englert
22    about the basis of his opinion and the Court ultimately ruled
23    he could testify at trial.         Although the Court found that the
24    defense and defense experts could have and should have sought


     '-----------------8-----------------'

                                                                                 R 1443
Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 10 of 23 PageID #:274



 1    testing of the pillow case prior to trial in the posttrial
 2    motion hearing, when you evaluate counsel's performance based
 3    on the entire record, the Court finds that defense counsel's
 4    performance was not constitutionally deficient.
 5                This was a complicated case.          The Defendant's action
 6    before and after the murder contributed to the difficulty.
 7    Defense had to contend with his extramarital encounters that
 8    increased in the months leading up to the murder.               During
 9    several of these encounters the Defendant told women he was
10    getting out of his marriage or he was getting divorced.                  The
11    defense had a difficult task of explaining to the jury why
12    these encounters did not provide a motive for the Defendant to
13    kill his wife.
14                The defense also had to explain the Defendant's
15    delay in bringing Anita Kustok to the hospital after her
16    death.   His claim that he fired the gun into the armoire
17    because he was afraid he would kill himself and his
18    contradictory statements to the medical personnel and police.
19    Defense counsel had to rebut the myriad of scientific
20    evidence.    The State presented more than 250 exhibits at
21    trial.   The defense presented more than 100 exhibits at trial.
22                There were many other items recovered during the
23    investigation that were not admitted at trial which had to be
24    examined by the defense.        Based on the entire record, the


     '------------------9--- ------------------'

                                                                                 R 1444
Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 11 of 23 PageID #:275



 1    Court finds that Petitioner has not met its burden in showing
 2    that counsel's performance was deficient under the first prong
 3    of Strickland.     But even if I were to so find trial counsel's
 4    performance was deficient under the first prong, Petitioner
 5    still must show that this deficient performance prejudiced the
 6    Defendant.
 7                 Petitioner claims that there is a reasonable
 8    probability that the result of the proceedings would have been
 9    different because of defense counsel's failure to request that
10    the pillow be tested for gunshot residue.            He argues that the
11    testimony of Rod Englert was central to the State's case and
12    he opines that the entire theory is based on the premise that
13    there was no gunshot residue on the pillows.             And a posttrial
14    testing would show Englert's conclusion was flat wrong.
15                 In their motion to dismiss, the State counters that
16    the posttrial evidence does not support a claim that there was
17    a reasonable probability that result at trial would have been
18    different.    The State cites Mr. Noedel at the posttrial
19    hearing where he concedes that the lead deposits on the
20    pillowcase could have been deposited when the gun was fired by
21    the Defendant into the armoire.          He also agreed that
22    Ms. Fundell 's conclusion that the lead deposits could have
23    come from three separate firings.
24                 State argues in their motion to dismiss that


     L----------------10-------------------'



                                                                                 R 1445
Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 12 of 23 PageID #:276



 1    Ms. Fundell 's testimony and Mr. Noedel 's concessions would not
 2    have changed the results at trial.           The posttrial testing
 3    results and testimony would be cumulative to the evidence
 4    presented at trial.       When I looked at the motion for a new
 5    trial and we went through this, we had the hearing and the new
 6    trial was mainly based on the introduction of the extramarital
 7    affairs and the newly discovered evidence or what the defense
 8    claimed is newly discovered evidence.
 9               And after that hearing, the Court gave an extensive
10    reason why I was denying the motion for a new trial based on
11    newly discovered evidence.         But I think some of the reasons
12    for that are appropriate here with regard to the second prong
13    of Strickland.     Under the caselaw for newly discovery
14    evidence, newly discovered evidence warrants a new trial when
15    first it has been discovered since the trial; second, it's of
16    such a character that it could not have been discovered prior
17    to the trial by the exercise of due diligence; third, it is
18    material to the issue and not merely cumulative; and, fourth,
19    it is such a conclusive character that it would probably
20    change the result at a new trial.
21               Those third and fourth criteria under new trial that
22    legal analysis is material or I think is relevant to the issue
23    here of whether or not there's a reasonable probability that
24    the result at trial would have changed.            And in denying the

     L----------------11---------------_,



                                                                                 R 1446
Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 13 of 23 PageID #:277



 1    Defendant's motion for a new trial, the Court went into great
 2    detail discussing why this new evidence and testimony was
 3    merely cumulative and why it was not of such a conclusive
 4    character that it would probably change the result on retrial.
 5               The facts that the Court considered in that ruling
 6    on the motion for a new trial are relevant to the second prong
 7    here.   And I think some of those are worth noting here.
 8    During the trial both the experts for both sides were
 9    contesting the methodology of the other side in great detail.
10    And as I looked at that, you could tell these two experts here
11    they disputed almost every conclusion of Mr. Englert, the two
12    experts for the defense, and they also let the jury know
13    Mr. Kish who was the blood spatter expert for the defense
14    informed the jury that the sodium rhodizonate test should have
15    been performed on the pillowcase.
16               Both defense experts made concessions that were
17    consistent with Mr. Englert and consistent with other evidence
18    and testimony presented by the State at trial.              For example
19    both of them agreed that Ms. Kustok would have been on the bed
20    at the time of her death and that the death was instantaneous.
21    Additionally Mr. Noedel posited different theories on how
22    Ms. Kustok could have accidentally or intentionally fired the
23    fatal shot.
24               However under questioning by the State, Mr. Noedel


     L-...---------------12---------------_,



                                                                                 R 1447
Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 14 of 23 PageID #:278



 1    who is the ballistics gun expert, admitted that the gun would
 2    necessarily have been pointed towards her face and if she
 3    accidentally shot herself while de-cocking the gun, meaning
 4    having the hammer on the gun releasing that and pushing it
 5    back towards it's normal resting position; he also conceded
 6    that given the trajectory of the bullet, it would be hard for
 7    the victim to fire the gun with her index finger.
 8               Now the medical examiner testified that the bullet
 9    entered the victim's left cheek exiting near the right ear
10    with a trajectory of left to right and slightly downward.
11    There was also testimony that Anita Kustok was right handed
12    which would make it even more difficult for somebody to kill
13    themselves given the trajectory and the type of weapon used.
14    Mr. Noedel opined that she could have accidentally or
15    intentionally killed herself but she would have probably had
16    to use both thumbs on the trigger to do that.
17               And Mr. Noedel also conceded on cross examination by
18    the State that there would be problems controlling the gun
19    because death would be instantaneous and the recoil of the gun
20    after the shot was fired would be difficult to control.                At
21    the posttrial hearing, once again the conclusions and
22    methodology of the experts were thoroughly vetted.
23    Ms. Fundell who was an analyst for the Illinois State Police
24    not only did she perform the sodium rhodizonate test but she


     '-----------------13-----------------'



                                                                                  R 1448
Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 15 of 23 PageID #:279



 1    also test fired the gun trying to duplicate the patterns of
 2    soot that were on the pillowcase that were in question here.
 3    And she was not able to produce these fact patterns in her
 4    test findings.
 5               She was able to produce similar patterns when the
 6    gun was fired at a distance of three inches from the
 7    pillowcase; however, she could never duplicate the exact
 8    pattern of lead deposits on the pillowcase.             She could
 9    actually never replicate the third rectangular deposit on the
10    pillowcase.    Ms. Fundell concluded that the gun was fired at a
11    distance of greater than contact but less than six inches away
12    from the pillowcase which is consistent with the medical
13    examiner in this case.
14                Ms. Fundell also testified at the posttrial hearing
15    that there was no test that could determine whether or not the
16    lead pattern was the result of a single gunshot or if it was
17    the result of multiple gunshot firings.            She testified that if
18    the gun had been fired five additional times in the bedroom as
19    the Defendant said in his statement, the lead deposits could
20    have come from these additional firings.            Mr. Noedel was
21    called by the defense in the posttrial hearing and he
22    testified that he reviewed Ms. Fundell 's report and disputed
23    her conclusion that the gun was more than contact and less
24    than six inches from the pillowcase.


     '-----------------14------------------'



                                                                                 R 1449
Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 16 of 23 PageID #:280



 1                His opinion was that the firearm was less than two
 2    inches from the pillowcase although he did not test fire the
 3    gun himself and based his conclusions on past experiences
 4    studying cylinder gap gases.         He also said that the new
 5    evidence called Mr. Englert's conclusions into serious
 6    question; however, on cross examination he acknowledged that
 7    the lead could have gotten on the pillowcase if it was near
 8    the firearm when the Defendant fired the gun into the armoire.
 9                He was also impeached by his failure to alert the
10    defense counsel that the pillowcase should have been tested
11    prior to trial.     Noedel admitted he reviewed Englert's report
12    before the drafting of his own pretrial report.              He never
13    sought to have the pillowcase tested for gunshot residue prior
14    to trial.    He could not remember if he had told the defense
15    they should have the pillowcase tested for gunshot residue
16    before arriving in Chicago in March 2014.            The trial in this
17    matter started on February 18, 2014.
18                When he arrived in March, he did bring the chemicals
19    for the testing, but the Court had denied that based on the
20    Court's rulings there.       At the end of the hearing here, I made
21    the finding that no expert can say how this happened and
22    that's exactly what was testified to by the defense experts at
23    the posttrial motion.
24                They testified in different ways that they believed


     L-----------------15----------------1

                                                                                 R 1450
Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 17 of 23 PageID #:281



 1    their explanations of how it could potentially be a suicide or
 2    an accident, but the jury had the evidence at its disposal and
 3    clearly that this evidence was merely cumulative and not of
 4    such a character that would have changed the outcome of the
 5    trial and I denied the motion for new trial.              Once again I
 6    think that these criteria these last two criteria and under
 7    the newly discovery evidence are relevant here for purposes of
 8    whether or not there's a reasonable probability that the
 9    result would have been different but for counsel's
10    deficiencies ; because and if we conclude that these experts
11    actually cancel each other out, what do you do?              You look at
12    the evidence at trial.
13               The Petitioner in their petition claims that the
14    Defendant was convicted based on three things.              He was a
15    philanderer.     His reaction in the immediate aftermath of
16    finding his wife shot to death on the other side of her bed
17    was abnormal.     And, three, his attorneys were ineffective for
18    failing to seek a five-minute scientific test that could have
19    proven and later did prove the State's theory the case was
20    impossible.     But Petitioner admits the first two factors and
21    bases his petition on the third factor; however, I believe
22    that Petitioner downplays the significance of these first two
23    factors.   And he doesn't address the other evidence
24    overwhelming evidence of guilt presented at trial.


     L----------------16-----------------'



                                                                                 R 1451
Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 18 of 23 PageID #:282



 1                Regarding the extramarital affairs, the secret life
 2    that the Defendant had became more frequent and bolder in the
 3    months preceding his wife's death.           He used the Ashley Madison
 4    website to meet married women who were interested in
 5    clandestine sexual affairs.         He came up to women on the street
 6    or in a shopping mall and asked to meet them for a date.
 7    During some of these rendezvous, he told these women that he
 8    was unhappy in his marriage and he was getting a divorce.
 9    These extramarital affairs were evidence of Defendant's motive
10    and intent to kill his wife.
11                In contrast Anita Kustok did not have a motive to
12    kill herself.     Witnesses who testified for both sides said
13    Ms. Kustok was upbeat planning for the future.              Although the
14    defense claimed that Anita was afraid of intruders, the
15    witnesses said they were never concerned that she would commit
16    suicide.   As to his reaction immediately after the incident, I
17    think Petitioner downplays the significance of these actions.
18    He never ca1·1s the police.       Never calls paramedics.         The
19    Petitioner told the police he stayed with his wife for 45
20    minutes before he drove her to the hospital.
21               State witnesses estimate that that time was more
22    like an hour to an hour and a half; either way it was a
23    significant period of time.        And during this time he admitted
24    to firing this gun five times into the armoire in the bedroom.


     L----------------17---------------_,J

                                                                                 R 1452
Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 19 of 23 PageID #:283



 1    He seriously disturbed the crime scene, stacking bloody
 2    pillows on the floor, taking bed sheets off the bed, and
 3    wiping down areas of the bedroom with towels.              These are not
 4    the actions of an innocent person.
 5                Additionally , I think Petitioner downplays the other
 6    evidence at trial.      There are inconsistent statements by the
 7    Petitioner made to the police and a medical personnel.                For
 8    example at one point he told the authorities he was in the
 9    bathroom when his wife shot herself.           And then he changed his
10    story and said he was asleep next to her when she shot
11    herself.    He, Petitioner, also told the police he bought this
12    weapon a .357 handgun for his wife's protection because she
13    was afraid of being alone; however, when he purchased the
14    weapon, he signed a federal document claiming he was
15    purchasing the gun for target practice.
16                He also told the gun owner of the shop a person he
17    knew from high school that he was buying the gun for target
18    practice.   Also with regards to his statement that he bought
19    the gun for his wife's protection, this is belied by the type
20    of gun he purchased.      And the State argued this to the jury.
21    This gun was a .357 handgun, a large gun.            Defense ballistic
22    expert Noedel testified that someone firing that gun would
23    need to use a significant amount of pressure on the trigger in
24    order to fire the gun.       If it was in what they call double


     '---------------------18------------------'



                                                                                 R 1453
Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 20 of 23 PageID #:284



 1    action, meaning when you pull the trigger, the hammer would
 2    have to go back and then come forward, would need 10 to 10-1/2
 3    pounds of pressure.       If it was in single action, meaning that
 4    you cock the gun before firing it, you need 3 to 3-1/2 pounds
 5    of pressure.
 6                He also testified that there would be significant
 7    recoil from the firing, forcing the gun and the hand of the
 8    person backward.      And this is not the type of gun that you
 9    would buy for a woman who is seeking to protect herself.                   The
10    testimony from the medical examiner that Ms. Kustok was 5 foot
11    5 and 130 pounds.
12                Petitioner's statement that he bought the gun for
13    her protection is also contradicted by other evidence.                The
14    police searched the home and found the ammunition for the gun
15    and the gun case in what would be a tool or work area
16    generally a workbench and tools in an area where it would be
17    somewhere a male like the Defendant would spend time.
18               Another critical piece of evidence in this case that
19    I think the Petitioner fails to recognize is the testimony of
20    Dr. Hillary McElligot the Medical Examiner.             She testified to
21    the trajectory of the bullet, and she also testified that
22    there was stippling on Ms. Kustok's eyelid but there was no
23    soot.   She said based on the stippling and lack of soot, the
24    gun was at least six inches from the left cheek, her left


     '-----------------19-----------------'



                                                                                 R 1454
 Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 21 of 23 PageID #:285



 1    cheek.    This would make it very difficult for someone to
 2    commit suicide.
 3                 She testified that most suicides involve contact
 4    wounds and stippling is normally not present.               She considered
 5    all the possible scenarios including accident, suicide, and
 6    homicide, and she came to the conclusion that this was a
 7    homicide.     Doctor McElligot's testimony was corroborated by
 8    the testimony of the other experts from both sides.                Given the
 9    trajectory of the bullet and the characterist ics of the gun
10    itself, all experts testified it would be difficult for
11    Ms. Kustok to kill herself.
12                 Mr. Noedel talked about possible ways Ms. Kustok
13    could have accidentally or intentionally shot herself but none
14    of these scenarios were plausible.            In the end there ' s only
15    two people who could have fired that weapon that caused Anita
16    Kustok's death and the evidence leads to one conclusion.
17    Allan Kustok fired that weapon.           Consequently even if trial
18    counsel's performance was deficient, there is no reasonable
19    probability that the deficient performance prejudiced the
20    Defendant.
21                 Based on the foregoing discussion here, the Court
22    finds Petitioner has forfeited his claim of ineffective
23    assistance of trial counsel because he failed to raise that
24    issue on direct appeal.        In the alternative Petitioner has


     L-----------------20-------------------'



                                                                                  R 1455
Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 22 of 23 PageID #:286



 1    failed to meet the two-prong test for ineffective assistance
 2    of counsel under Strickland.         Petitioner has failed to make a
 3    substantial showing that his constitutional rights were
 4    violated at trial.      Accordingly the Court grants the State's
 5    motion to dismiss and the petition for Postconviction relief
 6    is hereby dismissed.
 7               And I want to actually commend both attorneys for
 8    doing a nice job in bringing these issues to the Court.                    That
 9    will be the order.      Thank you.
10                             (Which were all the proceedings had in the
11                            above-entitled cause.)
12

13

14

15

16

17

18

19

20

21

22
23
24


     '------------------21-------------------'



                                                                                  R 1456
Case: 1:21-cv-06932 Document #: 2-3 Filed: 12/30/21 Page 23 of 23 PageID #:287



 1    STATE OF ILLINOIS           )
                                  ) ss
 2    COUNTY OF C O O K           )
 3

 4

 5             I, MARY T. CONNOLLY, an Official Court Reporter for the
 6    Circuit Court of Cook County, Fifth Municipal District, do
 7    hereby certify that I reported in shorthand the proceedings
 8    had at the above-entitled cause; that I thereafter caused the
 9    foregoing to be transcribed into typewriting, which I hereby
10    certify to be a true and accurate transcript of the
11    proceedings had before the Honorable JOHN HYNES, Judge of said
12    court.
13
14
15
                                         MARY T. c ' NNOLLY
16                                       Official Court Reporter
                                         #084-004734
17
18
19    Dated this 9th day of October 2019.
20
21
22
23
24


     '------------------22------------------'



                                                                                 R 1457
